                       Case:14-04844-jtg       Doc #:9 Filed: 07/24/14         Page 1 of 4
                                      United States Bankruptcy Court
                                      Western District of Michigan
In re:                                                                                 Case No. 14-04844-jtg
Stacy A. Christmas                                                                     Chapter 7
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0646-1          User: roundtrd               Page 1 of 2                   Date Rcvd: Jul 22, 2014
                              Form ID: b9a                 Total Noticed: 64


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 24, 2014.
db             Stacy A. Christmas,    5325 Van Orden Rd,     Lot 730,    Webberville, MI 48892-8728
tr            +Scott A. Chernich,    Foster Swift Collins & Smith PC,      313 South Washington Square,
                Lansing, MI 48933-2195
smg           +SECRETARY OF THE TREASURY,     1500 Pennsylvania Ave NW,     WASHINGTON, DC 20220-0001
7417760        AT&T Mobility - Bankruptcy Dept,     PO Box 309,    Portland, OR 97207-0309
7417756        Advance Cash,    6030 S Pennsylvania Ave Ste 9,     Lansing, MI 48911-5283
7417757        Advanced Radiology,    401 W Greenlawn Ave,     Lansing, MI 48910-2819
7417759        Allied Collection Group,     400 Allied Ct,    Zeeland, MI 49464-2219
7417762        Cash Store,    5525 S Cedar St Ste 3,     Lansing, MI 48911-3860
7417763       +Comcast Cable Communications,     1 Comcast Ctr,    Philadelphia, PA 19103-2833
7417764        Consumers Energy,    1 Energy Plaza Dr,     Jackson, MI 49201-2357
7417767        Enhanced Recovery Corporation,     PO Box 57547,    Jacksonville, FL 32241-7547
7417768        Family Health Center of Williamston,      319 W Grand River Ave,    Williamston, MI 48895-1300
7417772        Hamlin Mobile Homes,     The American Center,    27777 Franklin Rd Ste 200,
                Southfield, MI 48034-8205
7417773        Harris & Harris, Ltd.,     111 W Jackson Blvd Ste 400,     Chicago, IL 60604-4135
7417774        Independent Bank of Williamston,     1245 E Grand River Rd,     Williamston, MI 48895-9394
7417775        Ingham County Health Department,     PO Box 30161,     Lansing, MI 48909-7661
7417776       +Ingham Regional Medical,     401 W Greenlawn Ave,    Lansing, MI 48910-0899
7417779        JD Byrider,    4811 S Cedar St,    Lansing, MI 48910-5471
7417778        Janis & Mark Ferris,     8405 Goodwin Rd,    Lyons, MI 48851-9671
7417780        John D. Bradshaw, PC,     PO Box 50431,    Kalamazoo, MI 49005-0431
7417781       +Lake Trust Credit Union,     501 S Capitol Ave,    Lansing, MI 48933-2331
7417783        Lansing Professional Business Bureau,      PO Box 290,    Saint Johns, MI 48879-0290
7417784        McLaren,    Patient Accounts,    2727 S Pennsylvania Ave,     Lansing, MI 48910-3488
7417785        MediCredit,    PO Box 1629,    Maryland Heights, MO 63043-0629
7417788        Orbit Leasing,    PO Box 9534,    Wyoming, MI 49509-0534
7417789        Port Huron Music Center,     2700 Pine Grove Ave Unit 4,     Port Huron, MI 48060-2877
7417791        Richard A. Patton, Esq.,     Oade, Stroud & Kleiman, PC,     200 Woodland Pass,
                East Lansing, MI 48823-2000
7417792        Samuel P. Henkel,    2525 E Paris Ave SE Ste 100,      Grand Rapids, MI 49546-6191
7417793       +Sparrow Health System,     1215 E Michigan Ave,    Lansing, MI 48912-1896
7417795        St. Joseph Mercy Hospital - Chelsea,      5301 McAuley Dr,    Ypsilanti, MI 48197-1051
7417796       +State of Michigan,    Dept. of Treasury Office of Collections,      PO Box 77437,
                Detroit, MI 48277-0001
7417800        Weed Man,    PO Box 128,    Holt, MI 48842-0128

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty           E-mail/Text: ksavage@savagelawplc.com Jul 22 2014 22:17:23       Kimberly L. Savage,
               Savage Law PLC,   1483 Haslett Road,    Haslett, MI 48840
smg          +E-mail/Text: rayr1@michigan.gov Jul 22 2014 22:18:22       MI DEPT OF TREASURY,
               COLLECTION DIVISION/BANKRUPTCY,    PO BOX 30168,   LANSING, MI 48909-7668
smg          +E-mail/Text: bankruptcynoticeschr@sec.gov Jul 22 2014 22:17:52       SECURITIES & EXCHANGE COMM,
               BANKRUPTCY SECTION,   175 W. JACKSON BLVD.,    SUITE 900,    CHICAGO, IL 60604-2815
ust          +E-mail/Text: ustpregion09.gr.ecf@usdoj.gov Jul 22 2014 22:17:44       Andy Vara,
               Office of the US Trustee,    The Ledyard Building, 2nd Floor,    125 Ottawa NW, Suite 200R,
               Grand Rapids, MI 49503-2865
ust          +E-mail/Text: ustpregion09.gr.ecf@usdoj.gov Jul 22 2014 22:17:44       Daniel J. Casamatta,
               Assistant U.S. Trustee,    Office of the U.S. Trustee,    The Ledyard Building, 2nd Floor,
               125 Ottawa NW, Suite 200R,    Grand Rapids, MI 49503-2865
ust          +E-mail/Text: ustpregion09.gr.ecf@usdoj.gov Jul 22 2014 22:17:44       David W. Asbach,
               Office of the US Trustee,    The Ledyard Building, 2nd Floor,    125 Ottawa NW, Suite 200R,
               Grand Rapids, MI 49503-2865
ust          +E-mail/Text: ustpregion09.gr.ecf@usdoj.gov Jul 22 2014 22:17:44       Dean E. Rietberg,
               Trial Attorney,   Office of the US Trustee,    The Ledyard Building, 2nd Floor,
               125 Ottawa NW, Suite 200R,    Grand Rapids, MI 49503-2865
ust          +E-mail/Text: ustpregion09.gr.ecf@usdoj.gov Jul 22 2014 22:17:44       Habbo G. Fokkena,
               Office of the United States Trustee,    Michigan/Ohio Region 9,    The Ledyard Building, 2nd Floor,
               125 Ottawa NW, Suite 200R,    Grand Rapids, MI 49503-2837
ust          +E-mail/Text: ustpregion09.gr.ecf@usdoj.gov Jul 22 2014 22:17:44       Matthew T. Cronin,
               Office of the US Trustee,    The Ledyard Building, 2nd Floor,    125 Ottawa NW, Suite 200R,
               Grand Rapids, MI 49503-2865
ust          +E-mail/Text: ustpregion09.gr.ecf@usdoj.gov Jul 22 2014 22:17:44       Michael V. Maggio,
               Trial Attorney,   Office of the US Trustee,    The Ledyard Building, 2nd Floor,
               125 Ottawa NW, Suite 200R,    Grand Rapids, MI 49503-2865
ust          +E-mail/Text: ustpregion09.gr.ecf@usdoj.gov Jul 22 2014 22:17:44       Michelle M. Wilson,
               Trial Attorney,   Office of the US Trustee,    The Ledyard Building, 2nd Floor,
               125 Ottawa NW, Suite 200R,    Grand Rapids, MI 49503-2865
ust          +E-mail/Text: ustpregion09.gr.ecf@usdoj.gov Jul 22 2014 22:17:44       Office of the U.S. Trustee,
               The Ledyard Building, 2nd Floor,    125 Ottawa NW, Suite 200R,    Grand Rapids, MI 49503-2865
ust          +E-mail/Text: ustpregion09.gr.ecf@usdoj.gov Jul 22 2014 22:17:44       United States Trustee,
               Michigan/Ohio Region 9,    The Ledyard Building, 2nd Floor,    125 Ottawa NW, Suite 200R,
               Grand Rapids, MI 49503-2837
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                                      Form ID: b9a                       Total Noticed: 64


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
7417758       EDI: AFNIRECOVERY.COM Jul 22 2014 22:03:00       AFNI,    1310 Martin Luther King Dr,
               Bloomington, IL 61701-1465
7417754       EDI: AAEO.COM Jul 22 2014 22:03:00       Aaron’s Sales and Lease,     1015 Cobb Place Blvd NW,
               Kennesaw, GA 30144-3672
7417755       E-mail/Text: june@ar-s.net Jul 22 2014 22:17:37        Account Receivables Solutions,
               301 N Clinton Ave,   Saint Johns, MI 48879-2513
7417761      +E-mail/Text: dhall@cimamed.com Jul 22 2014 22:18:04        Capital Internal Medicine Assoc,
               3955 Patient Care Way,    Lansing, MI 48911-4271
7417763      +E-mail/Text: ned_fre-bankruptcies@cable.comcast.com Jul 22 2014 22:18:29
               Comcast Cable Communications,    1 Comcast Ctr,     Philadelphia, PA 19103-2833
7417765       EDI: CREDPROT.COM Jul 22 2014 22:03:00       Credit Protection Associates,      13355 Noel Rd,
               Dallas, TX 75240-6837
7417766       EDI: DTEE.COM Jul 22 2014 22:03:00       DTE Energy,    1 Energy Plz,    Detroit, MI 48226-1221
7417770       E-mail/Text: bankruptcynotification@frontiercorp.com Jul 22 2014 22:18:32
               Frontier Communication,    19 John St,    Middletown, NY 10940-4918
7417771       E-mail/Text: dleabankruptcy@hrblock.com Jul 22 2014 22:17:27         H&R Block,    PO Box 677463,
               Dallas, TX 75267-7463
7417777       EDI: IRS.COM Jul 22 2014 22:03:00       Internal Revenue Service,     PO Box 21126,
               Philadelphia, PA 19114-0326
7417782      +E-mail/Text: collections@lbwl.com Jul 22 2014 22:17:39        Lansing Board of Water & Light,
               1232 Haco Dr,   Lansing, MI 48912-1672
7417786       EDI: MID8.COM Jul 22 2014 22:03:00       Midland Funding, LL,    8875 Aero Dr,
               San Diego, CA 92123-2255
7417787      +E-mail/Text: skakalis@nicfn.com Jul 22 2014 22:17:42        Nicholas Financial Inc.,
               2454 N McMullen Booth Rd,    Clearwater, FL 33759-1343
7417790      +E-mail/Text: bankruptcy@rentacenter.com Jul 22 2014 22:18:33         Rent A Center,
               ATTN: Customer Care,    5501 Headquarters Dr,     Plano, TX 75024-5845
7417794       EDI: NEXTEL.COM Jul 22 2014 22:03:00       Sprint,    PO Box 4191,    Carol Stream, IL 60197-4191
7417797       EDI: AISTMBL.COM Jul 22 2014 22:03:00       TMobile,    PO Box 742596,    Cincinnati, OH 45274-2596
7417798       E-mail/Text: lreveles@troycapital.com Jul 22 2014 22:17:25         Troy Capital, LLC,
               2660 S Rainbow Blvd,    Las Vegas, NV 89146-4004
7417799       E-mail/Text: edinkel@vikingservice.com Jul 22 2014 22:18:36         Viking Client Services, Inc.,
               PO Box 59207,   Minneapolis, MN 55459-0207
7417801      +E-mail/Text: BKRMailOps@weltman.com Jul 22 2014 22:18:08        Weltman, Weinberg & Reis, Co.,
               2155 Butterfield Dr Ste 200S,    Troy, MI 48084-3463
7417802       E-mail/Text: wow_bankruptcy@wideopenwest.com Jul 22 2014 22:18:36         Wow,    PO Box 4350,
               Carol Stream, IL 60197-4350
                                                                                                 TOTAL: 33

              ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
7417769        ##First Bank of Delaware,   1000 Rocky Run Pkwy,   Wilmington, DE                    19803-1455
                                                                                                                    TOTALS: 0, * 0, ## 1

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 24, 2014                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 18, 2014 at the address(es) listed below:
              Kimberly L. Savage   on behalf of Debtor Stacy A. Christmas ksavage@savagelawplc.com,
               G2342@notify.cincompass.com
              Scott A. Chernich   JPhillips@fosterswift.com, mi44@ecfcbis.com
                                                                                            TOTAL: 2
                          Case:14-04844-jtg               Doc #:9 Filed: 07/24/14                  Page 3 of 4
B9A (Official Form 9A) (Chapter 7 Individual or Joint Debtor No Asset Case) (12/12)                               Case Number 14−04844−jtg
UNITED STATES BANKRUPTCY COURT District of Western District of Michigan

                                              Notice of
                      Chapter 7 Bankruptcy Case, Meeting of Creditors, & Deadlines
      A chapter 7 bankruptcy case concerning the debtor(s) listed below was filed on 7/18/14.

You may be a creditor of the debtor. This notice lists important deadlines. You may want to consult an attorney to protect your Rights.
All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below. NOTE: The staff of the
bankruptcy clerk's office cannot give legal advice.
                   Creditors −− Do not file this notice in connection with any proof of claim you submit to the court.
                                      See Reverse Side For Important Explanations
Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
Stacy A. Christmas
5325 Van Orden Rd
Lot 730
Webberville, MI 48892−8728
Case Number:                                                            Social Security/Taxpayer ID/Employer ID/Other Nos.:
14−04844−jtg                                                            xxx−xx−8728
Attorney for Debtor(s) (name and address):                              Bankruptcy Trustee (name and address):
Kimberly L. Savage                                                      Scott A. Chernich
Savage Law PLC                                                          Foster Swift Collins & Smith PC
1483 Haslett Road                                                       313 South Washington Square
Haslett, MI 48840                                                       Lansing, MI 48933
Telephone number: 517−515−5000                                          Telephone number: (517) 371−8133

                                                       Meeting of Creditors
Date: September 9, 2014                                          Time: 01:00 PM
Location: U. S. Post Office & Courthouse Bldg., 315 W. Allegan, Room 101, Lansing, MI 48933

                                  Presumption of Abuse under 11 U.S.C. § 707(b)
                                                See "Presumption of Abuse" on reverse side.
The presumption of abuse does not arise.

                                                               Deadlines:
                            Papers must be received by the bankruptcy clerk's office by the following deadlines:
                 Deadline to Object to Debtor's Discharge or to Challenge Dischargeability of Certain Debts: 11/10/14

                                             Deadline to Object to Exemptions:
                                       Thirty (30) days after the conclusion of the meeting of creditors.

                                       Creditors May Not Take Certain Actions:
In most instances, the filing of the bankruptcy case automatically stays certain collection and other actions against the debtor and the
debtor's property. Under certain circumstances, the stay may be limited to 30 days or not exist at all, although the debtor can request the
court to extend or impose a stay. If you attempt to collect a debt or take other action in violation of the Bankruptcy Code, you may be
penalized. Consult a lawyer to determine your rights in this case.

             Please Do Not File a Proof of Claim Unless You Receive a Notice To Do So.
                                             Creditor with a Foreign Address:
A creditor to whom this notice is sent at a foreign address should read the information under "Do Not File a Proof of Claim at This Time"
on the reverse side.
Address of the Bankruptcy Clerk's Office:                                                        For the Court:
One Division Ave., N.                                                   Clerk of the Bankruptcy Court:
Room 200                                                                DANIEL M. LAVILLE
Grand Rapids, MI 49503
Telephone number: (616)456−2693
Hours Open: Monday − Friday 8:00 AM − 4:00 PM                           Date: 7/21/14
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                                                          EXPLANATIONS                                           B9A (Official Form 9A) (12/12)

Filing of Chapter 7      A bankruptcy case under Chapter 7 of the Bankruptcy Code (title 11, United States Code) has been filed in this court
Bankruptcy Case          by or against the debtor(s) listed on the front side, and an order for relief has been entered.


 Legal Advice             The staff of the bankruptcy clerk's office cannot give legal advice. Consult a lawyer to determine your rights in
                          this case.


Creditors Generally  Prohibited collection actions are listed in Bankruptcy Code §362. Common examples of prohibited actions include
May Not Take Certain contacting the debtor by telephone, mail or otherwise to demand repayment; taking actions to collect money or
Actions              obtain property from the debtor; repossessing the debtor's property; starting or continuing lawsuits or foreclosures;
                     and garnishing or deducting from the debtor's wages. Under certain circumstances, the stay may be limited to 30
                     days or not exist at all, although the debtor can request the court to extend or impose a stay.


Presumption of Abuse If the presumption of abuse arises, creditors may have the right to file a motion to dismiss the case under § 707(b) of
                     the Bankruptcy Code. The debtor may rebut the presumption by showing special circumstances. (Applies to cases
                     filed on or after October 17, 2005)


Meeting of Creditors     A meeting of creditors is scheduled for the date, time and location listed on the front side. The debtor (both spouses
                         in a joint case) must be present at the meeting to be questioned under oath by the trustee and by creditors. Creditors
                         are welcome to attend, but are not required to do so. The meeting may be continued and concluded at a later date
                         without further notice. Please note that possession of cell phones is prohibited at first meetings.


Do Not File a Proof of There does not appear to be any property available to the trustee to pay creditors. You therefore should not file a
Claim at This Time     proof of claim at this time. If it later appears that assets are available to pay creditors, you will be sent another notice
                       telling you that you may file a proof of claim, and telling you the deadline for filing your proof of claim. If this
                       notice is mailed to a creditor at a foreign address, the creditor may file a motion requesting the court to extend the
                       deadline. Do not include this notice with any filing you make with the court.


Discharge of Debts       The debtor is seeking a discharge of most debts, which may include your debt. A discharge means that you may
                         never try to collect the debt from the debtor. If you believe that the debtor is not entitled to receive a discharge under
                         Bankruptcy Code §727(a) or that a debt owed to you is not dischargeable under Bankruptcy Code §523(a)(2), (4), or
                         (6), you must file a complaint −− or a motion if you assert the discharge should be denied under §727(a)(8) or (a)(9)
                         −− in the bankruptcy clerk's office by the "Deadline to Object to Debtor's Discharge or to Challenge the
                         Dischargeability of Certain Debts" listed on the front of this form. The bankruptcy clerk's office must receive the
                         complaint or motion and any required filing fee by that Deadline.


Exempt Property          The debtor is permitted by law to keep certain property as exempt. Exempt property will not be sold and distributed
                         to creditors. The debtor must file a list of all property claimed as exempt. You may inspect that list at the bankruptcy
                         clerk's office. If you believe that an exemption claimed by the debtor is not authorized by law, you may file an
                         objection to that exemption. The bankruptcy clerk's office must receive the objections by the "Deadline to Object to
                         Exemptions" listed on the front side.


Bankruptcy Clerk's       Any paper that you file in this bankruptcy case should be filed at the bankruptcy clerk's office at the address listed
Office                   on the front side. You may inspect all papers filed, including the list of the debtor's property and debts and the list of
                         the property claimed as exempt, at the bankruptcy clerk's office.


Creditor with a          Consult a lawyer familiar with United States bankruptcy law if you have any questions regarding your rights in this
Foreign Address          case.


Abandonments             Trustees may abandon property in no asset estates without notice to creditors or other interested parties. Anyone
                         wishing to receive notice of such abandonment must file a request with the Court.


                               Refer to Other Side for Important Deadlines and Notices
